Case 1:19-cv-01552-ABJ Document1 Filed 05/28/19 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY
AND ETHICS IN WASHINGTON,
1101 K Street, N.W., Suite 201
Washington, D.C. 20005

Plaintiff,

U.S. DEPARTMENT OF JUSTICE,
950 Pennsylvania Ave., N.W.
Washington, D.C. 20530

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Vv. ) Civil Action No.
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Defendant. )

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COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

dis This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C.
§ 552, and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, for injunctive,
declaratory, and other appropriate relief. Plaintiff Citizens for Responsibility and Ethics in
Washington (“CREW”) challenges the failure of the U.S. Department of Justice (“DOJ”) to
disclose to CREW records pertaining to the views DOJ’s Office of Legal Counsel (““OLC”)
provided Attorney General William Barr on whether the evidence developed by Special Counsel
Robert Mueller is sufficient to establish that President Donald Trump committed an obstruction-
of-justice offense.

2. This case seeks declaratory relief that DOJ is in violation of the FOIA, 5 U.S.C. §
552(a)(6)(E)(i), and DOJ’s regulations, 28 C.F.R. § 16.5(e), for refusing to grant CREW’s
expedited request for records and for injunctive relief ordering defendant DOJ to process and

release to CREW immediately the requested records in their entirety.
Case 1:19-cv-01552-ABJ Document1 Filed 05/28/19 Page 2 of 7

Jurisdiction and Venue

a This Court has both subject matter jurisdiction over this action and personal
jurisdiction over the parties pursuant to 5 U.S.C. §§ 552(a)(4)(B) and 552(a)(6)(C)(i). The Court
also has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 2201(a), and 2202. Venue
lies in this district under 5 U.S.C. § 552(a)(4)(B).

Parties

4, Plaintiff CREW is a non-profit, non-partisan organization organized under section
501(c)(3) of the Internal Revenue Code. CREW is committed to protecting the rights of citizens
to be informed about the activities of government officials and agencies, and to ensuring the
integrity of government officials and agencies. CREW seeks to empower citizens to have an
influential voice in government decisions and in the government decision-making process
through the dissemination of information about public officials and their actions. To advance its
mission, CREW uses a combination of research, litigation, and advocacy. As part of its research,
CREW uses government records made available to it under the FOIA.

2. Defendant DOJ is an agency within the meaning of 5 U.S.C. § 552(f) and 5
U.S.C. § 701. Defendant and its component OLC have possession and control of the requested
records and are responsible for fulfilling plaintiff's FOIA request.

Statutory and Regulatory Background

6. The FOIA, 5 U.S.C. § 552, requires agencies of the federal government to release
requested records to the public unless one or more specific statutory exemptions apply.

ts An agency must respond to a party making a FOIA request within 20 working

days, notifying that party of at least the agency’s determination of which of the requested records
Case 1:19-cv-01552-ABJ Document1 Filed 05/28/19 Page 3 of 7

it will release, which it will withhold and why, and the requester’s right to appeal the
determination to the agency head. 5 U.S.C. § 552(a)(6)(A)(i).

8. The FOIA also requires agencies to promulgate regulations that provide for
expedited processing of FOIA requests where the requester demonstrates a “compelling need” as
well as “other cases determined by the agency.” 5 U.S.C. § 552(a)(6)(E)(i). The FOIA defines
“compelling need” to include requests “made by a person primarily engaged in disseminating
information” where there is an “urgency to inform the public concerning actual or alleged
Federal Government activity.” /d. at § 552(a)(6)(E)(v)(ID.

9, DOJ’s FOIA regulations provide for expedition for, among other things, “[a]
matter of widespread and exceptional media interest in which there exist possible questions
about the government’s integrity that affect public confidence.” 28 C.F.R. § 16.5(e)(1)(iv).
Requesters seeking expedition under this subsection must submit their expedition request to
DOJ’s Director of Public Affairs. 28 C.F.R. § 16.5(e)(2).

10. Agencies are required to make a determination on a request for expedition within
10 calendar days “after the date of the request.” 5 U.S.C. § 552(a)(6)(E)(ii)(I). DOJ regulations
mirror this requirement. 28 C.F.R. § 16.5(e)(4).

11. | Anagency’s failure to respond within 10 calendar days to a request for expedition
is subject to judicial review without exhausting administrative remedies. 5 U.S.C. §
552(a)(6)(E) (iii).

12. Agency decisions to deny or affirm denial of a request for expedition are subject
to judicial review “based on the record before the agency at the time of the determination.” 5

U.S.C. § 552(a)(6)(E)(iii).
Case 1:19-cv-01552-ABJ Document1 Filed 05/28/19 Page 4 of 7

Factual Background

13. On April 18, 2019, Attorney General Barr took the unprecedented step of holding
a press conference in advance of his release to Congress and the public of the two-volume report
on the investigation into Russian interference in the 2016 presidential election prepared by
Special Counsel Mueller. During that press conference the Attorney General discussed his
decision — not shared by Special Counsel Mueller — that President Trump had not obstructed the
Special Counsel’s investigation. The Attorney General explained he made his decision “[a]fter
carefully reviewing the facts and legal theories outlined in the report.” He further stated that the
OLC was among those he had consulted before reaching his conclusion “that the evidence
developed by the Special Counsel is not sufficient to establish that the President committed an
obstruction-of-justice offense.”

14. On April 18, 2019, CREW sent a FOIA request by email to DOJ’s Office of Legal
Counsel requesting copies of all documents pertaining to the views OLC provided Attorney
General Barr on whether the evidence developed by Special Counsel Mueller is sufficient to
establish that the President committed an obstruction-of-justice offense.

15. | CREW sought a waiver of fees associated with processing its request. CREW
explained that the requested records likely will shed light on the legality and reasonableness of
the Attorney General’s conclusions and whether he was acting as a personal counsel for the
President or on behalf of the United States in making his decision that the President had not
obstructed justice. CREW explained that because the Attorney General had so directly and
significantly placed his hand on the scales of justice in making and announcing his declination

decision, the public deserves to know the full basis for that decision.
Case 1:19-cv-01552-ABJ Document1 Filed 05/28/19 Page 5 of 7

16. | CREW also sought expedition of its request from DOJ’s Office of Public Affairs
because the request’s subject matter is of widespread and exceptional media interest and the
requested information involves possible questions of the government’s integrity that affect public
confidence. As CREW explained, the Attorney General’s repeated efforts to spread
misinformation about the Mueller Report and its findings, particularly with respect to the issue of
whether President Trump obstructed justice, raise serious concerns that the process undertaken
by the Special Counsel has been tainted in an effort to protect the President rather than the
American public.

17. By letter date April 26, 2019, OLC advised CREW that the Office of Public
Affairs had denied CREW’s request for expedited processing based on the judgment of its
Director that the topic of CREW’s FOIA request is not a matter in which there exist possible
questions about the government’s integrity that affect public confidence.

18. DOJ further advised CREW that it was unable to comply with the FOIA’s 20-day
deadline for responding to the request and stated only that it would respond “as soon as
practicable.”

19. To date, CREW has received no further response from DOJ.

20. CREW has now exhausted all applicable administrative remedies with respect to
its FOIA request of OLC.

PLAINTIFF’S CLAIMS FOR RELIEF

CLAIM ONE
(Wrongful Withholding of Non-Exempt Records)

21. Plaintiff repeats and re-alleges paragraphs 1-20.
22. Plaintiff properly asked for records within the custody and control of DOJ.

23. Defendant DOJ wrongfully withheld agency records requested by plaintiff by
Case 1:19-cv-01552-ABJ Document1 Filed 05/28/19 Page 6 of 7

failing to comply with the statutory time limits for making a determination on both expedited and
non-expedited FOIA requests, and by withholding from disclosure records responsive to
plaintiff's FOIA request of OLC.

24, Plaintiff therefore is entitled to injunctive and declaratory relief with respect to the
immediate processing and disclosure of the requested records.

CLAIM TWO
(Failure to Grant Expedition)

19. Plaintiff properly asked that DOJ expedite the processing of plaintiff's FOIA
request, which seeks agency records within the custody and control of DOJ, based on its showing
of widespread and exceptional media interest in the requested information, which involves
possible questions of the government’s integrity that affect public confidence.

20. Defendant DOJ refused to CREW’s request for expedition, contrary to the factual
and legal showing CREW made demonstrating its entitlement to expedition.

23. Plaintiff has exhausted all applicable administrative remedies with respect to
defendant’s failure to make a determination on plaintiff's request for expedition.

24, Plaintiff therefore is entitled to injunctive and declaratory relief with respect to the
immediate and expedited processing and disclosure of the requested records.

Requested Relief

WHEREFORE, plaintiff respectfully requests that this Court:

(1) Order defendant Department of Justice to immediately and fully process
plaintiff's April 18 expedited FOIA request and disclose all non-exempt documents immediately
to plaintiff;

(2) Issue a declaration that plaintiff is entitled to immediate processing and disclosure

of the requested records;
Case 1:19-cv-01552-ABJ Document1 Filed 05/28/19 Page 7 of 7

(3) Provide for expeditious proceedings in this action;

(4) Retain jurisdiction of this action to ensure no agency records are wrongfully
withheld;

(5) Award plaintiff its costs and reasonable attorneys’ fees in this action; and

(6) Grant such other relief as the Court may deem just and proper.

Respectfully submitted,

nne L. Weismann
(D.C. Bar No. 298190)
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Dated: May 28, 2019 Attorneys for Plaintiff
